             Case 3:24-cv-06843-JD         Document 96     Filed 07/07/25   Page 1 of 2



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18                                 UNITED STATES DISTRICT COURT
19                               NORTHERN DISTRICT OF CALIFORNIA
20

21
      EPIC GAMES, INC.,                               Case No. 3:24-CV-06843-JD
22
                                           Plaintiff, NOTICE OF VOLUNTARY DISMISSAL AS TO
23                                                    SAMSUNG DEFENDANTS AND AUTO
                            v.                        BLOCKER-RELATED CLAIMS
24

25    SAMSUNG ELECTRONICS CO. LTD;
      SAMSUNG ELECTRONICS AMERICA,
26    INC.; and GOOGLE LLC,
27                                      Defendants.
28


                                      NOTICE OF VOLUNTARY DISMISSAL
             Case 3:24-cv-06843-JD         Document 96        Filed 07/07/25       Page 2 of 2



 1          Plaintiff Epic Games, Inc. (“Epic”) has reached a settlement agreement with Defendants
 2   Samsung Electronics Co., Ltd. and Samsung Electronics America, Inc. (together, “Samsung”).
 3   Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Epic hereby gives notice that Counts 1–5,
 4   6, 7, 9, 11 and 13 of the First Amended Complaint (Dkt. No. 95) are hereby voluntarily dismissed,
 5   without prejudice.
 6

 7    Dated: July 7, 2025                       Respectfully submitted,
 8

 9                                              By:        /s/ Gary A. Bornstein

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                                     NOTICE OF VOLUNTARY DISMISSAL
